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                         UNITED STATES DISTRICT COURT
                             DIST RICT OF COLUMBIA

 Yanping Chen,

                                Plaintiff,
                                                 No. 18-cv-3074
                    v.
                                                 Hon. Christopher R. Cooper
 Federal Bureau of Investigation,
                                                 United States District Judge
 U.S. Department of Justice, U.S.
 Department of Defense, and U.S.
 Department of Homeland
 Security,

                             Defendants.



                    JOINT STATUS REPORT RE: MEDIATION

      In accordance with the Court’s November 4, 2022 minute order, the parties

submit this joint status report on the general progress of mediation.

      Following the October 26, 2022 mediation, the parties further communicated

with Judge Harvey on November 16, 2022. It is now clear that the parties are unable to

reach settlement at this time. The parties, however, remain open to further discussion

following the Court’s resolution of outstanding motions and other litigation

developments. The parties will remain engaged regarding when it may be fruitful to

further pursue settlement and will promptly notify the Court if they believe it would be

productive to reenter mediation with Judge Harvey.




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Dated: November 18, 2022                    Respectfully submitted,

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